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                                              Exhibit A

   Personal               Name of            State of       Relationship   Named of 9/11   ECF Filing
 Representative       Substitute Party      Residency       of Claimant      Decedent
  or Claimant                                                  to 9/11
                                                             Decedent
Dorothy Bauer, as       Heidi Bauer-           NJ              Parent        Walter D.     03-md-1570,
 Executrix of the         Pollard as                                         Bauer, II      ECF 7400
Estate of Walter D.       Personal                                                         17-cv-2003,
    Bauer, Sr.        Representative of                                                      ECF 1
                        the Estate of
                      Walter D. Bauer,
                              Sr.
 Dorothy Bauer,         Heidi Bauer-           NJ              Parent        Walter D.     03-md-1570,
                         Pollard as                                          Bauer, II      ECF 7400
                       Executrix of the                                                    17-cv-2003,
                      Estate of Dorothy                                                      ECF 1
                           Bauer
  Karen A. Mee         Thomas Mee as           NJ             Sibling        John A.       03-md-1570,
                       Executor of the                                       Candela        ECF 7412
                      Estate of Karen A.                                                   17-cv-2003,
                             Mee                                                             ECF 1
  Donald Schlag       Patricia A. Schlag       NJ              Parent      Steven Schlag   03-md-1570,
                      as Executrix of the                                                   ECF 7413
                       Estate of Donald                                                    17-cv-2003,
                            Schlag                                                           ECF 1
    John York          Dolores York as         FL              Parent       Kevin York     03-md-1570,
                       Executrix of the                                                     ECF 7416
                        Estate of John                                                     17-cv-2003,
                             York                                                            ECF 1




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